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 6
     Attorney for Plaintiffs,
 7   Nicholas Der-Hacopian, on behalf of
 8   Himself and all others similarly situated
 9
                      IN THE UNITED STATES DISTRICT COURT
10                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                           SAN FRANCISCO DIVISION
12   NICHOLAS DER-HACOPIAN,                      Case No. 3:18-cv-6726
13   On behalf of himself and all others
     similarly situated,                         CLASS ACTION COMPLAINT
14
                         Plaintiff,
15                                               DEMAND FOR JURY TRIAL
16         v.

17   DARKTRACE, INC.,
18                Defendant.

19
           NOW COMES the Plaintiff, NICHOLAS DER-HACOPIAN, by and through his
20
     attorneys, TATAR LAW FIRM, APC, suing on behalf of himself and all other similarly
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     situated, and for his complaint against the Defendant, DARKTRACE, INC., Plaintiff
22
     states as follows:
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                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
             Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 2 of 15




 1
 2                               I.     PRELIMINARY STATEMENT
 3         1.     This is a consumer class action based upon Defendant’s willful violation of
 4   the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (“FCRA”). Plaintiff brings this
 5   action on behalf of applicants for employment with Defendant. Plaintiff contends that
 6   Defendant systematically violates at least two sections of the FCRA: section 1681b(b)(2),
 7   by improperly including a release of future liability in the form document it requires
 8   employment applicants to sign authorizing a background check; and, section 1681b(b)(3),
 9   by using a consumer report to make an adverse employment decision without providing
10   the person who is the subject of the report a copy of the report and a summary of rights
11   under the FCRA a sufficient amount of time before the adverse action is taken
12         2.     The FCRA was enacted “to insure that consumer reporting agencies exercise
13   their grave responsibilities with fairness, impartiality, and a respect for the consumer’s
14
     right to privacy,” 15 U.S.C. § 1681(a)(4) (emphasis added), by operating “in a manner
15
     which is fair and equitable to the consumer, with regard to the confidentiality, accuracy,
16
     relevancy” of the consumer information they disseminate.           15 U.S.C. § 1681(b).
17
     Congress included in the statutory scheme a series of due-process-like protections that
18
     impose strict procedural rules on “users” of “consumer reports” such as Defendant. This
19
     action involves Defendant’s systematic violation of several of those important rules.
20
21
                                  II.    JURISDICTION & VENUE
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           3.     Jurisdiction arises under the FCRA 15 U.S.C. §1681 et seq. and pursuant to
23
     28 U.S.C. §1331 and 28 U.S.C. §1337
24
           4.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).
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                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
             Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 3 of 15




 1
 2                                          III.   PARTIES
 3         5.       NICHOLAS DER-HACOPIAN, (hereinafter, “Plaintiff”) is an individual
 4   who was at all relevant times residing in the City of Ashburn, County of Loudoun, State
 5   of Virginia.
 6         6.       At all relevant times, Plaintiff was a “consumer” as that term is defined by
 7   15 U.S.C. §1681a(c).
 8         7.       DARKTRACE, INC., is a business entity headquartered in San Francisco,
 9   California. Defendant’s principal place of business is located San Francisco, California.
10   Defendant is incorporated in the State of California.
11         8.       At all relevant times Defendant was a “person” as that term is defined by 15
12   U.S.C. §1681a(b).
13                                       IV. FACTUAL ALLEGATIONS
14
           9.       In April 2012, Plaintiff was arrested and charged with shoplifting. Plaintiff
15
     successfully completed the Pretrial Intervention Program and the charges filed against
16
     him were nolle prossed on July 24, 2012.
17
           10.      By Order of the Horry County Court, dated September 17, 2012, all records
18
     relating to the arrest and subsequent discharge were ordered to be expunged and
19
     immediately destroyed and no evidence of the records pertaining to the charge were to be
20
     retained by any municipal, county or state agency.
21
           11.      Since the implementation of the expungement, Plaintiff has had a clear
22
     criminal record.
23
           12.      In July 2018, Plaintiff applied to Defendant for a position of employment.
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           13.      As part of its employment application process, Defendant requires potential
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     employees such as Plaintiff to submit to a background check wherein information
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     pertaining to character, general reputation, personal characteristics and/or mode of living
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                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
             Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 4 of 15




 1   are reviewed and used to determine, together with other factors, whether to hire an
 2   applicant.
 3         14.     On or about July 11, 2018, Defendant advised Plaintiff it would be
 4   performing a background check on Plaintiff.
 5         15.     In connection with his application, Plaintiff agreed to Defendant’s
 6   requirement that he authorize Defendant and a consumer reporting agency of its choice to
 7   perform a background check on Plaintiff; Plaintiff signed a document titled “Employee
 8   Authorization to Release Records.” A redacted copy of the Authorization is attached
 9   hereto as Exhibit A.
10         16.     The Authorization stated in pertinent part as follows:
11              “The company has my authorization to thoroughly investigate my
12              work and personal history...I will hold no person liable for giving or
                receiving information in this investigation. I hereby authorize
13
                SentryLink LLC, an agent of Darktrace Inc to make a thorough check
14              of my past Employment, Education, and activities. I release from
                liability all persons, companies, and corporations supplying that
15
                information. I release and indemnify Darktrace Inc and SentryLink
16              LLC against any liability that might result from making such
17              background checks.”
     (Emphasis added). See Exhibit A.
18
           17.     The Authorization that Defendant provided to Plaintiff violated section
19
     1681b(b)(2) of the FCRA because it did not consist “solely of the disclosure that a
20
     consumer report may be obtained for employment purposes.”                15 U.S.C. §
21
     1681b(b)(2)(A)(i); Syed v. M-I, LLC, 853 F.3d 492, 500 (9th Cir. 2017) . Instead,
22
     Defendant unlawfully attempted to obtain in advance a waiver and release of Plaintiff’s
23
     and other consumers’ rights under the FCRA and improperly provide prophylactic
24
     protection to Defendant and SentryLink from any improper actions or omissions
25
     committed in providing the background report to the employer. See Exhibit A.
26
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                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          18.     On or about July 16, 2018, in conducting a background check of Plaintiff,
 2   Defendant obtained from SENTRYLINK, LLC, a consumer report, as that term is
 3   defined by 15 U.S.C. §1681a(d), regarding Plaintiff.
 4          19.     Said consumer report was to be used by Defendant to assist in determining
 5   Plaintiff’s fitness for the position applied for, and to assist in determining whether to hire
 6   Plaintiff for a position of employment.
 7          20.     The consumer report was prepared by SentryLink and sold to Defendant for
 8   employment purposes.
 9          21.     The consumer report improperly and inaccurately reported the April 2012
10   arrest that had been expunged in September 2012, almost six (6) years earlier.
11          22.     After receiving and reviewing the consumer report obtained from
12   SentryLink, LLC, regarding Plaintiff, Defendant denied Plaintiff the employment
13   opportunity based in whole or in part on the aforesaid consumer report.
14
            23.     Section 1681b(b)(3) of the FCRA requires that “in using a consumer report
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     for employment purposes, before taking any adverse action based in whole or in part on
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     the report, the person intending to take such adverse action shall provide to the consumer
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     to whom the report relates” a copy of the report and a written description of the
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     consumer’s rights under the FCRA. 15 U.S.C. 1681b(b)(3)(A)(i), (ii).
19
            24.     In connection with Plaintiff’s application for employment, Defendant was “a
20
     person intending to take” adverse action, and did take adverse action, within the meaning
21
     of the statute.
22
            25.     Defendant did not provide to Plaintiff a copy of the consumer report or a
23
     written statement of his rights under the FCRA prior to taking adverse action against him.
24
            26.     Even after Plaintiff later obtained a copy of the inaccurate background
25
     report, and informed Defendant that the charges had been removed from the public
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     record, Defendant did not change its decision to deny him employment.
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                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1            27.     Defendant’s practices and procedures described herein affected not only the
 2   Plaintiff but also other applicants for employment against whom adverse action was
 3   taken.
 4            28.     At all times pertinent hereto, Defendant was acting by and through its
 5   agents, servants and/or employees who were acting within the course and scope of their
 6   agency or employment, and under the direct supervision and control of the Defendant
 7   herein.
 8            29.     At all times pertinent hereto, the conduct of the Defendant, as well as that of
 9   its agents, servants and/or employees, was intentional, willful, reckless, and in grossly
10   negligent disregard for federal laws and the rights of the Plaintiff herein. Defendant
11   knowingly carries out business practices of (a) not providing a clear and conspicuous
12   written disclosure, in a document that consists solely of the disclosure, that a consumer
13   report may be obtained for employment purposes; and, (b) failing to provide employment
14
     applicants with a copy of background reports and written summaries of FCRA rights.
15
     There is no reading or interpretation of sections 1681b(b)(2) and 1681b(b)(3)(A) of the
16
     FCRA, or any provision for that matter, which would justify, sanction, excuse or condone
17
     such practices.
18
              30.     Prior to taking any action on Plaintiff’s employment application to deny
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     Plaintiff the employment opportunity, Defendant failed to provide Plaintiff a copy of the
20
     consumer report to Plaintiff.
21
              31.     Prior to taking any action on Plaintiff’s employment application to deny
22
     Plaintiff the employment opportunity, Defendant failed to provide to Plaintiff a
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     description in writing of the rights of Plaintiff under the FCRA.
24
              32.     On or before July 27, 2018, Defendant made a determination not to hire
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     Plaintiff.
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                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1         33.     On or about July 27, 2018, Defendant sent Plaintiff correspondence
 2   informing him that he had been denied a position of employment with Defendant based
 3   on information it had received from SentryLink, LLC.
 4         34.     Defendant’s conduct was consistent with its standard policies and
 5   procedures for using consumer reports to evaluate candidates for hiring, retention, and or
 6   promotion.
 7         35.     Defendant’s conduct as delineated above was willful and a reckless
 8   disregard for the law and the rights of the Plaintiff.
 9         36.     As a result of Defendant’s conduct, as delineated above, Plaintiff has
10   suffered actual damages in the form of financial and dignitary harm arising from
11   Defendant’s review of his personal information and an injury to his reputation, and
12   Defendant’s failure to provide Plaintiff the requisite disclosures and an opportunity to
13   spare his good name and obtain meaningful employment. Furthermore, Plaintiff will
14
     continue to suffer the same harm for an indefinite time in the future, all to Plaintiff’s
15
     great detriment and loss.
16
                                       V. CLASS ALLEGATIONS
17
           37.     Plaintiff brings this action individually and on behalf of a class of
18
     individuals pursuant to Rule 23 of the Federal Rules of Civil Procedure.
19
           38.     Plaintiff brings this action individually and as a class action for Defendant’s
20
     violations of sections 1681b(b)(2) and 1681b(b)(3)(A) of the FCRA, pursuant to
21
     Rules 23(a) and 23(b) of the Federal Rules of Civil Procedure, on behalf of the following
22
     Classes:
23
                   (a)   All natural persons residing within the United States and its
24
                         Territories regarding whom, beginning two (2) years prior to the filing
25
                         of this Complaint and continuing through the conclusion of this
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                         action, the Defendant procured or caused to be procured a consumer
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                         report for employment purposes using a written disclosure containing
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                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                        language substantially similar in form to the Employee Authorization
 2                        to Release Records form provided to Plaintiff, described above and
 3                        attached hereto as Exhibit A.
 4                  (b)   All natural persons residing in the United States who (i) within two
 5                        (2) years prior to the filing of the Complaint, (ii) applied for
 6                        employment with Defendant, (iii) were the subject of a consumer
 7                        report used by Defendant for employment purposes, (iv) were the
 8                        subject of an adverse employment action by Defendant, and (iv) were
 9                        not provided with a copy of the report and/or a written summary of
10                        their rights under the FCRA prior to the adverse action.
11         39.      The Classes are each so numerous that joinder of all members is
12   impracticable. Although the precise number of Class members is known only to
13   Defendant, Plaintiff avers upon information and belief that the Class numbers in the
14
     hundreds       if    not    thousands.        Defendant       has    33     offices     globally
15
     (https://www.darktrace.com/overview/) and utilizes common practices and procedures for
16
     screening job applicants.
17
           40.      There are questions of law and fact common to the Class that predominate
18
     over any questions affecting only individual Class members. The principal questions
19
     include whether Defendant willfully violated section 1681b(b)(2) of the FCRA by
20
     procuring or causing to be procured consumer reports for employment purposes without
21
     providing a clear and conspicuous disclosure in a document that consists solely of the
22
     disclosure that a consumer report may be obtained for employment purposes, and
23
     whether Defendant, by employing a policy and practice of failing to provide job
24
     applicants with pre-adverse action notices, willfully and negligently violated section
25
     1681b(b)(3).
26
           41.      Plaintiff’s claims are typical of the claims of the Class, which all arise from
27
     the same operative facts and are based on the same legal theories.
28
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                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
             Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 9 of 15




 1         42.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff
 2   is committed to vigorously litigating this matter.            Plaintiff has secured counsel
 3   experienced in handling consumer class actions. Neither Plaintiff nor his counsel has any
 4   interests which might cause them not to vigorously pursue this claim.
 5         43.     This action should be maintained as a class action because the prosecution of
 6   separate actions by individual members of the Class would create a risk of inconsistent or
 7   varying adjudications with respect to individual members which would establish
 8   incompatible standards of conduct for the parties opposing the Class, as well as a risk of
 9   adjudications with respect to individual members which would as a practical matter be
10   dispositive of the interests of other members not parties to the adjudications or
11   substantially impair or impede their ability to protect their interests.
12         44.     A class action is a superior method for the fair and efficient adjudication of
13   this controversy. The interest of Class members in individually controlling the
14
     prosecution of separate claims against Defendant is small as the maximum statutory
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     damages are limited to $1,000.00 under the FCRA. Management of the Class claims is
16
     likely to present significantly fewer difficulties than those presented in many individual
17
     claims. The identities of the Class members may be obtained from Defendant’s records.
18
19                                  VI.   CAUSES OF ACTION
20                              COUNT ONE – FCRA § 1681b(b)(2)
21         45.     Plaintiff incorporates the foregoing paragraphs as though the same were set
22   forth at length herein.
23         46.     The background or consumer reports that Defendant procures or causes to be
24   procured regarding employment applicants are “consumer reports” within the meaning of
25   15 U.S.C. § 1681a(d).
26         47.     The FCRA provides that “a person may not procure a consumer report, or
27   cause a consumer report to be procured, for employment purposes with respect to any
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                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   consumer, unless (i) a clear and conspicuous disclosure has been made in writing to the
 2   consumer at any time before the report is procured or caused to be procured, in a
 3   document that consists solely of the disclosure, that a consumer report may be obtained
 4   for employment purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i).
 5         48.     Defendant is a “person” that regularly procures or causes consumer reports
 6   to be procured for employment purposes.
 7         49.     As such, the FCRA requires Defendant to clearly and conspicuously disclose
 8   to the consumer in writing, in a document that consists solely of the disclosure that a
 9   consumer report may be obtained for employment purposes.                    15 U.S.C. §
10   1681b(b)(2)(A)(i).
11         50.     Defendant willfully violated section 1681b(b)(2) of the FCRA by failing to
12   provide to the consumer a disclosure that consists solely of the required disclosure
13   because it instead included in the form Authorization a requirement that the consumer
14
     release Defendant and the consumer reporting agency of its choice from any liability
15
     resulting from providing background information concerning the consumer.
16
           51.     Pursuant to section 1681n of the FCRA, Defendant is liable for willfully
17
     violating FCRA section 1681b(b)(2) by procuring or causing to be procured a consumer
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     report for employment purposes without first providing a clear and conspicuous
19
     disclosure in writing to the consumer in a document that consists solely of the disclosure
20
     that a consumer report may be obtained for employment purposes.
21
                               COUNT TWO – FCRA § 1681b(b)(3)
22
           52.     Plaintiff incorporates the foregoing paragraphs as though the same were set
23
     forth at length herein.
24
           53.     The background or consumer reports that Defendant purchases regarding
25
     employment applicants are “consumer reports” within the meaning of 15 U.S.C. §
26
     1681a(d).
27
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                                        10
                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1         54.     The FCRA provides that any person “using a consumer report for
 2   employment purposes” who intends to take any “adverse action based in whole or in part
 3   on the report,” must provide the consumer a written description of the consumer’s rights
 4   under the FCRA, as prescribed by the Federal Trade Commission, before taking such
 5   adverse action. 15 U.S.C. § 1681b(b)(3)(A).
 6         55.     For purposes of this requirement, an “adverse action” includes “any . . .
 7   decision . . . that adversely affects any current or prospective employee.” 15 U.S.C. §
 8   1681a(k)(1)(B)(ii).
 9         56.     Defendant is a “person” that regularly uses consumer reports for
10   employment purposes.
11         57.     The FCRA requires Defendant, as a user of consumer reports for
12   employment purposes, before taking adverse action based in whole or in part on the
13   report, to provide to the consumer to whom the report relates, a copy of the report and a
14
     written description of the consumer’s rights under the FCRA.                       15 U.S.C. §
15
     1681b(b)(3)(A)(i), (ii).
16
           58.     Defendant willfully violated section 1681b(b)(3) of the FCRA by failing to
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     provide to the consumer about whom the report relates a copy of the report and a written
18
     description of the consumer’s rights under the FCRA a sufficient time before it took
19
     adverse action based in whole or in part on the consumer report.
20
                                          V.     JURY DEMAND
21
           59.     Plaintiff hereby demands a trial by jury on all issues so triable.
22
                                       VI.     PRAYER FOR RELIEF
23
                   WHEREFORE, Plaintiff seeks relief against the Defendant as follows:
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                   (a)     That an order be entered certifying the proposed Class under Rule 23
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                           of the Federal Rules of Civil Procedure and appointing Plaintiff and
26
                           his counsel to represent the Class;
27
                   (b)     That judgment be entered against Defendant for statutory damages in
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                                        11
                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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 1             the amount of not less than $100 and not more than $1,000 per
 2             violation per Class member, pursuant to 15 U.S.C. § 1681n(a);
 3       (c)   That judgment be entered against Defendant for punitive damages
 4             pursuant to 15 U.S.C. § 1681n(a)(2);
 5       (d)   That the Court award costs and reasonable attorney's fees; and
 6       (e)   That the Court grant such other and further relief as may be just and
 7             proper.
 8
 9
10
11                                      Respectfully submitted,
12
13                                      By: /s/ Stephanie R. Tatar
14                                      One of Plaintiff’s Attorneys
15                                      Stephanie R. Tatar (237792)
                                        Tatar Law Firm, APC
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                                        3500 West Olive Avenue, Suite 300
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                             12
      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 13 EXHIBIT
                                                         of 15 A
JS-CAND 44 (Rev. 06/17)               Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 14 of 15
                                                                                CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
  Nicholas Der-Hacopian, on behalf of himself and all others similarly situated                            Darktrace, Inc.
   (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.
   (c)     Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
 Stephanie R. Tatar, Tatar Law Firm, APC, 3500 W. Olive, Ste
 300, Burbank, CA 91505 (323) 744-1146
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                         PTF       DEF                                      PTF         DEF
      1    U.S. Government Plaintiff       3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4         4
                                                (U.S. Government Not a Party)
                                                                                                                                                           of Business In This State
                                                                                                    Citizen of Another State                2        2     Incorporated and Principal Place     5          5
      2    U.S. Government Defendant       4     Diversity                                                                                                 of Business In Another State
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                    Citizen or Subject of a                 3        3     Foreign Nation                       6          6
                                                                                                    Foreign Country

IV.          NATURE OF SUIT               (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                  625 Drug Related Seizure of         422 Appeal 28 USC § 158             375 False Claims Act
   120 Marine                                                                                                     Property 21 USC § 881           423 Withdrawal 28 USC               376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                      690 Other                               § 157                              § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                                                                                           400 State Reapportionment
                                       320 Assault, Libel & Slander                                                     LABOR                       PROPERTY RIGHTS
   150 Recovery of                                                             Pharmaceutical Personal                                                                                410 Antitrust
                                       330 Federal Employers’                                                 710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                               430 Banks and Banking
                                           Liability                                                          720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                               450 Commerce
                                       340 Marine                                                                 Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application                460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                          470 Racketeer Influenced &
                                       350 Motor Vehicle                                                      751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                               Corrupt Organizations
                                       355 Motor Vehicle Product                                                  Leave Act
       Veterans)                                                           371 Truth in Lending                                                     SOCIAL SECURITY
                                           Liability                                                          790 Other Labor Litigation                                              480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property                                            861 HIA (1395ff)
                                       360 Other Personal Injury                                              791 Employee Retirement                                                 490 Cable/Sat TV
       Overpayment                                                             Damage                             Income Security Act             862 Black Lung (923)                850 Securities/Commodities/
    of Veteran’s Benefits              362 Personal Injury -Medical
                                           Malpractice                     385 Property Damage Product                                            863 DIWC/DIWW (405(g))                 Exchange
   160 Stockholders’ Suits                                                     Liability                            IMMIGRATION
                                                                                                                                                  864 SSID Title XVI                  890 Other Statutory Actions
   190 Other Contract                                                                                         462 Naturalization
                                            CIVIL RIGHTS                   PRISONER PETITIONS                                                     865 RSI (405(g))                    891 Agricultural Acts
   195 Contract Product Liability                                                                                 Application
                                       440 Other Civil Rights                 HABEAS CORPUS                                                                                           893 Environmental Matters
   196 Franchise                                                                                              465 Other Immigration                FEDERAL TAX SUITS
                                       441 Voting                          463 Alien Detainee                     Actions                                                             895 Freedom of Information
                                                                                                                                                  870 Taxes (U.S. Plaintiff or
          REAL PROPERTY                442 Employment                                                                                                                                    Act
                                                                           510 Motions to Vacate                                                      Defendant)
   210 Land Condemnation                                                       Sentence                                                                                               896 Arbitration
                                       443 Housing/                                                                                               871 IRS–Third Party 26 USC
   220 Foreclosure                         Accommodations                  530 General                                                                § 7609                          899 Administrative Procedure
                                       445 Amer. w/Disabilities–                                                                                                                         Act/Review or Appeal of
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                                                    Agency Decision
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                 950 Constitutionality of State
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                          Statutes
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights
                                                                           555 Prison Condition
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from              3      Remanded from           4   Reinstated or           5 Transferred from              6   Multidistrict           8 Multidistrict
          Proceeding                   State Court                      Appellate Court             Reopened                  Another District (specify)        Litigation–Transfer       Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 15 U.S.C. 1681 et seq.
             ACTION
                                Brief description of cause:
                                 Violation of the Fair Credit Reporting Act
VII.         REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                       CHECK YES only if demanded in complaint:
             COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                   JUDGE                                                       DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                        EUREKA-MCKINLEYVILLE


DATE 11/02/2018                                          SIGNATURE OF ATTORNEY OF RECORD                                                 /s/ Stephanie R. Tatar

                       Print                            Save As...                                                                                                                     Reset
JS-CAND 44 (rev. 07/16)   Case 4:18-cv-06726-HSG Document 1 Filed 11/06/18 Page 15 of 15

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”

   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
